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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr40
                                     )   Hon. Trevor McFadden
GEOFFREY SILLS,                      )
      Defendant.                     )
____________________________________)

MOTION TO COMPEL DISCLOSURE OF DOCUMENTATION ILLUMINATING THE
   REASONS FOR THE UNANNOUNCED AND UNEXPLAINED TRANSFER OF
 DEFENDANT FROM NORTHERN NECK REGIONAL JAIL TO USP LEWISBURG

       Comes now Defendant Geoffrey Sills, by counsel, and moves the Court to compel the

disclosure by the government forthwith of documentation revealing the reason/s for Defendant’s

transfer from Northern Neck Regional Jail (“NNRJ”) to USP Lewisburg.

       On December 28th of last year, undersigned was informed by the Marshal’s Service that

Defendant had been transferred from NNRJ to USP Lewisburg. No explanation was given.

Upon information and belief, all NNRJ inmates charged with crimes related to the events of

January 6th, were removed from NNRJ in that time frame. (See Northern Neck Sentinel, Vol. 5,

Edition 12, January 2023, p. 5.)

       NNRJ has been dogged by controversy pertaining to its alleged mistreatment of its

inmates. An unspecified skin ailment has reportedly surfaced among NNRJ inmates. (See

Northern Neck Sentinel, Vol. 5, Ed. 12, January 2023, p. 5.) Richmond County, Virginia

Commonwealth’s Attorney Elizabeth Trible has taken to task NNRJ’s Superintendent Ted Hull

for failing to report violent attacks within the facility and terminated her office’s use of the

facility for the housing of pretrial detainees. (See Northern Neck Sentinel, Vol. 5, Ed. 11,

December 2023, pp. 1, 5.)




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       The conditions of Defendant’s confinement over the past few years are pertinent to - in

fact, necessary for - an assessment of Defendant’s appropriate sentence.

       Wherefore, Defendant requests the government be compelled to disclose forthwith

documentation sufficient to reveal with particularity the reason/s for the decision to remove all

January 6th defendants from NNRJ.

                                                     Respectfully submitted,

                                                     GEOFFREY SILLS
                                                     By Counsel

                                                     _____/s/____________
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                                                     Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on February 21, 2023, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties.

                                                     ____/s/_____________
                                                     John C. Kiyonaga




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